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lN THE UNITED sTATES DISTRICT CoURT ""'i~-Fff`t /WF en
FoR THE WESTERN Dls'rchT oF TENNESSEE
WESTERN DIVISION 95 AUG '3 AH l f= ha

 

UNITED STATES OF AMERICA

 

 

 

 

V- 05-20029-02-Ml
KENDRICK WATSON
ORDER ON ARRAIGNMENT
This cause came to be heard on 6 ’ 3 "O 5 , the United States Attorney
for this district appeared on behalf of the government, and the defendant appeared in person and With
counsel:
NAME a /‘w»/[*£_S l//a/ldman who is Retainec_i/Appoimed.

 

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended.

he defendant, who is not in custody, may stand on his present bond.

The defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

/

UNITED STATES MAGISTRATE JUDGE

CHARGES: 18:371; 18:472 & 2;

U. S. Attorney assigned to Case: C. McMullen

Ag@r 2 5

Thfs document entered on the docket sheet in compliance
with Rule 55 and/or 32{b) FHCrP on ’ ’

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 42 in
case 2:05-CR-20029 Was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

